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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


JASON WHITE,                                     §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §      Civil Action No. 4:19-cv-00145
                                                 §
                                                 §
ACCEPTANCE NOW,                                  §
                                                 §
                                                 §
                                                 §
       Defendant.                                §



                    STIPULATION OF DISMISSAL WITH PREJUDICE


       Plaintiff Jason White. and Defendant Acceptance Now. stipulate, pursuant to Fed. R. Civ.

P. 41(a)(1)(A)(ii), to dismiss all causes of action against Acceptance Now with prejudice.

       AGREED AS TO FORM AND CONTENT:



By:/s/ Shawn Jaffer___________________
        SHAWN JAFFER
        State Bar No. 24107817

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